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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


 CASA, INC. et al.,

                 Plaintiffs,

         v.
                                                           Case No.: 8:25-cv-00201-DLB
 DONALD J. TRUMP et al.,                                   Honorable Deborah L. Boardman

                 Defendants.




                    PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION

        Plaintiffs respectfully move the Court under Rule 23(a) and (b)(2) of the Federal Rules of

Civil Procedure to certify a class of “all children who have been born or will be born in the United

States on or after February 19, 2025, who are designated by Executive Order 14,160 to be

ineligible for birthright citizenship, and their parents.” Plaintiffs further request that the Court

designate counsel from the Institute for Constitutional Advocacy and Protection and the Asylum

Seeker Advocacy Project as class counsel. As explained in the accompanying memorandum and

supported by Plaintiffs’ evidence, Plaintiffs meet the requirements for class certification under

Rule 23(a), (b)(2), and (g).

        Therefore, Plaintiffs ask the Court to Grant Plaintiff’s Motion for Class Certification;

certify a Rule 23(b)(2) class of “all children who have been born or will be born in the United

States on or after February 19, 2025, who are designated by Executive Order 14,160 to be


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ineligible for birthright citizenship, and their parents;” allow the complaint to proceed on a class-

wide basis; and appoint counsel from the Institute for Constitutional Advocacy and Protection and

the Asylum Seeker Advocacy Project as class counsel.


Respectfully submitted this June 27, 2025,


                                                  /s/Joseph W. Mead
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